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 Attorneys for Debtors in Possession

                                 UNITED STATES BANKRUPTCY COURT

                                           DISTRICT OF IDAHO

  In re:                                               Case No. 19-40057-JMM

  TIMOTHY D. SEMONES and SUSAN C.                      Chapter 11
  DESKO,

                           Debtors.



     Notice of Application for Fees/Costs for Counsel and Opportunity to Object and for a Hearing
    No Objection. The Court may consider this request for an order without further notice or hearing
    unless a party in interest files an objection within twenty-one (21) days of the date of this notice. If
    an objection is not filed within the time permitted, the Court may consider that there is no opposition
    to the granting of the requested relief and may grant the relief without further notice or hearing.
    Objection. Any objection shall set out the legal and/or factual basis for the objection. A copy of the
    objection shall be served on the movant.
    Hearing on Objection. The objecting party shall also contact the court’s calendar clerk to schedule a
    hearing on the objection and file a separate notice of hearing.




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  NOTICE OF APPLICATION FOR ALLOWANCE OF FEES/COSTS FOR COUNSEL

         PLEASE TAKE NOTICE that Angstman Johnson, counsel of record for Debtors in

 Possession, Timothy D. Semones and Susan C. Desko, (“Debtors”), has filed a Final Application

 for Allowance of Fees and Costs for Counsel (Dkt. No. 206 - the “Application”) requested fees

 and costs for Angstman Johnson in the total amount of $36,902.22 (which consists of new

 fee/cost requests of $15,800.00, and approval of previous requests in the amount of $21,102.22)

 Fees and costs are requested related to the following:

        Case Administration was necessary in order to discuss various items with the client and
         other parties as well as prepare and file required reports (MORs, 2015.3 reports).

        Asset Disposition was necessary in order to prepare and file a Report of Sale and
         motions for sale of vehicles.

        Fee/Employment Applications was necessary in order to seek court approval of
         payment of counsel’s third interim application for fees and expenses.

        Other Contested Matters was necessary in order to represent the Debtor in a separate
         adversary proceeding. The proceeding was a non-dischargeability proceeding which Eta
         Compute, Inc., pursued against the debtors.

        Claims Administration and Objections was necessary in order to review claims filed
         and prepare and file objections to some.

        Plan and Disclosure Statement were necessary in order to prepare and present the
         Debtors’ proposed Amended Plan and Disclosure Statements. The plan was ultimately
         confirmed over the objection of the United States Trustee.


         The projects have allowed the Debtors to attend required meetings, prepare and file

 required reports, prepare and file proposed Amended Plan and Disclosure statement and

 amendments, participate in the adversary proceedings, and otherwise seek to progress their case

 towards confirmation. Each of these projects is complete.

         The Application has been reviewed and approved by the Debtors. A copy of the

 Application is on file with the above-captioned Court as Docket No. 206, together with
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 supporting documents. Any party desiring information as to the details of the Application may

 request the same from the Clerk of the Court, from the court’s online PACER information

 system at www.pacer.gov, or from the undersigned counsel.

         YOU ARE HEREBY NOTIFIED that written objections of the Application should be

 filed with the court within twenty-one (21) days of the date of service of this notice. Any

 objection shall set out the legal and/or factual basis for the objection. A copy of the objection

 shall be served upon the Movant. If an objection is not filed within the time permitted, the Court

 may consider that there is no opposition to the granting of the requested relief in the Application

 and may grant the relief without further notice of hearing. Any such objection should be filed

 with the U.S. Bankruptcy Court at the United State Courthouse, 550 W. Fort St., Boise, ID

 83724 or electronically filed using the CM/ECF Filer system at https//ecf.edb.uscourts.gov.



         DATED this 28th day of May, 2021.

                                                        /s/ Matt Christensen
                                                    MATTHEW T. CHRISTENSEN
                                                    Attorney for Debtors




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 28th day of May, 2021, I filed the foregoing NOTICE
 OF FINAL APPLICATION FOR ALLOWANCE OF FEES AND COSTS FOR COUNSEL
 electronically through the CM/ECF system, which caused the following parties to be served by
 electronic means, as more fully reflected on the Notice of Electronic Filing:

         Jesse A. P. Baker                          ecfidb@aldridgepite.com
         Craig W. Christensen                       cwc@racinelaw.net
         Matthew T. Christensen                     mtc@angstman.com
         Scott D. Goldsmith                         goldsmith.scott@dorsey.com
         Robert G. Harris                           rob@bindermalter.com
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         David M. Swartley                          bknotice@mccarthyholthus.com
         US Trustee                                 ustp.region18.bs.ecf@usdoj.gov
         Steven T. Waterman                         waterman.steven@dorsey.com


         Any others as listed on the Court’s ECF Notice




                                                    /s/ Matt Christensen
                                                 Matthew T. Christensen




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